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                                        6

                                        7                               IN THE UNITED STATES DISTRICT COURT

                                        8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                        9

                                       10    UNITED STATES OF AMERICA,                             Case No. 2:19-CR-00043-MCE

                                       11                     Plaintiff,
                                                                                                   STIPULATION AND ORDER TO
                                       12             v.                                           CONTINUE STATUS CONFERENCE

                                       13    ALICIA MCCOY and DAVID LEE WHITE,
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFOR NIA




                                                                                                   Judge: Honorable Morrison C. England.
                                       14                     Defendant.

                                       15

                                       16                                              STIPULATION

                                       17           1.       By previous order this case was set for status conference on March 28, 2019.

                                       18           2.       By this stipulation, the defendants ask to move the status conference until May 9,

                                       19   2019 and to exclude time between March 28, 2019 and May 9, 2019 under Local Code T4.

                                       20           3.       The parties agree and stipulate, and request that the Court find the following:

                                       21                    (a)     The government has represented that the discovery associated with this

                                       22   case will be produced directly to counsel and/or made available for inspection and copying no

                                       23   later than April 5, 2019.

                                       24                    (b)     Counsel for defendants desire time to consult with their clients, review the

                                       25   discovery, conduct investigation and otherwise prepare for trial.

                                       26                    (c)     Counsel for defendants believe failure to grant the above-requested

                                       27   continuance would deny them the reasonable time necessary for effective preparation, taking into

                                       28   account the exercise of due diligence.
                                             {00027900}
                                                      STIPULATION AND ORDER                                            [Case No. 2:19-CR-00043-MCE]
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                                            1                    (d)     The government does not object to the continuance.

                                            2                    (e)     Based on the above-stated findings, the ends of justice served by

                                            3   continuing the case as requested outweigh the interest of the public and the defendants in a trial

                                            4   within the original date prescribed by the Speedy Trial Act.

                                            5                    (f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

                                            6   § 3161, et seq., within which trial must commence, the time period of March 28, 2019 to May 9,

                                            7   2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

                                            8   T4] because it results from a continuance granted by the Court at defendants’ request on the basis

                                            9   of the Court’s finding that the ends of justice served by taking such action outweigh the best

                                           10   interest of the public and the defendants in a speedy trial.

                                           11   Dated: March 26, 2019.                  Respectfully submitted,

                                           12
                                                                                       By      /s/ Kresta Nora Daly for
               S ACRAMENTO , C ALIFORNIA




                                           13                                                  GRANT RABENN
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                               ASSISTANT UNITED STATE ATTORNEY
                                           14

                                           15   Dated: March 26, 2019.                  Respectfully submitted,

                                           16
                                                                                       By      /s/ Kresta Nora Daly for
                                           17                                                  DAVID GARLAND
                                                                                               Attorney for ALICIA MCCOY
                                           18

                                           19
                                                Dated: March 26, 2019.                  Respectfully submitted,
                                           20
                                           21                                          By      /s/ Kresta Nora Daly
                                                                                               KRESTA NORA DALY
                                           22                                                  Attorneys for DAVID LEE WHITE
                                           23

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                                                 {00027900}                                       -2-
                                                          STIPULATION AND ORDER                                           [Case No. 2:19-CR-00043-MCE]
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                                        1                                                ORDER

                                        2           GOOD CAUSE APPEARING upon the stipulation of the parties it is ordered:

                                        3           The status conference of March 28, 2019 is vacated. The status conference will be reset

                                        4   for May 9, 2019. The Court finds excludable time through May 9, 2019 under Title 18, United

                                        5   States Code Section 3161(h)(7)(B)(iv) and Local Code T4 to allow for preparation of counsel.

                                        6   The Court finds that the interests of justice are best served by granting the request and outweigh

                                        7   the interests of the public and the defendant in a speedy trial. (18 U.S.C. § 3161(h)(7)(A),

                                        8   (h)(7)(B)(iv).)

                                        9           IT IS SO ORDERED.

                                       10   Dated: March 29, 2019

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B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFOR NIA




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                                                      STIPULATION AND ORDER                                          [Case No. 2:19-CR-00043-MCE]
